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                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE
                           DISTRICT OF COLUMBIA
______________________________________________________________________________

 U.S. DOMINION, INC., et al.,

        Plaintiffs / Counter-Defendants,
                                                  Civil Action 1:21-cv-02131 (CJN / MAU)
 v

 PATRICK BYRNE,

        Defendant.


______________________________________________________________________________

 DEFENDANT, PATRICK BYRNE’S MOTION TO RESCHEDULE THE 11:00 A.M. MAY
    10, 2024 IN-PERSON HEARING ON PLAINTIFF’S EMERGENCY MOTION (75)

       Comes now Defendant, Patrick Byrne, by and through undersigned, and pursuant to the

Federal Rules of Civil Procedure and Local Civil Rule (LCvR) 7, hereby files this Motion to

Reschedule the 11:00 a.m., May 10, 2024, in-person hearing on Plaintiff’s Emergency Motion

(Docket No. 75), stating in support as follows.

       On April 15, 2024, the Court entered a MINUTE ORDER as follows: “The Parties shall

appear for a hearing on Plaintiff’s Emergency Motion 75 on May 10, 2024 at 11:00 AM in person

before Magistrate Judge Moxila A. Upadhyaya. Motion Hearing set for 5/10/2024 at 11:00 AM in

Courtroom 5- In Person before Magistrate Judge Moxila A. Upadhyaya. Signed by Magistrate

Judge Moxila A. Upadhyaya on 04/15/2024. (lchk) (Entered: 04/15/2024).”

       Undersigned counsel, who lives in Michigan, has a previously scheduled and personal

conflict in Michigan on the date proposed. Undersigned cannot rearrange or otherwise make

alternate arrangements for said conflict in her schedule. As counsel has to travel to the District of




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Columbia for personal appearance at the Court’s scheduled time and date for the hearing, it would

be impossible to maintain the previously scheduled appointment and appear in this Court in time

for the hearing.

       Undersigned counsel has discussed several alternate dates with counsel for Plaintiff, and

counsel for Plaintiff opposes rescheduling the May 10, 2024 hearing. The parties conferred and

were able to offer to the Court May 13, 14, 15, 16, and 22 as available dates in the event the Court

should grant Defendant’s request. Plaintiff is also available May 1, 2024 and Plaintiff prefers that

the hearing take place on a date prior to May 10, 2024. Defendant’s counsel is unavailable on May

1, 2024 due to scheduling conflicts on April 29, 2024, April 30, 2024, and May 2, 2024.

       WHEREFORE, for the reasons stated herein, Defendant moves this Honorable Court to

Reschedule the Oral Argument Hearing on Plaintiff’s Motion for Protective Relief and to

Disqualify Counsel (75).

                                              Respectfully submitted,

                                              /s/ Stefanie Lambert
                                              _________________________
                                              Stefanie Lambert
                                              Law Offices of Stefanie L. Lambert, PLLC
                                              400 Renaissance Drive, FLOOR 26
                                              Detroit, MI 48243
                                              attorneylambert@protonmail.com




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                            COMPLIANCE WITH LOCAL RULE 7(m)

        Counsel for Defendant has discussed the within Motion with opposing counsel in a good-

faith effort to determine whether there is an opposition to the relief sought, and counsel for Plaintiff

provides alternative dates but does not consent to the relief sought in this motion.

                                                Respectfully submitted,

                                                /s/ Stefanie Lambert
                                                _________________________
                                                Stefanie Lambert
                                                Law Offices of Stefanie L. Lambert, PLLC
                                                400 Renaissance Drive, FLOOR 26
                                                Detroit, MI 48243
                                                attorneylambert@protonmail.com



Date: April 24, 2024




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                                CERTIFICATE OF SERVICE

       I, Stefanie Lambert, hereby certify that on April 24, 2024, true and correct copies of the

foregoing were served via email on counsel of record for every party in US Dominion, et al. v.

Patrick Byrne, Case No. 1:21-cv-02131 (CJN).

                                            Respectfully submitted,

                                            /s/ Stefanie Lambert
                                            _________________________
                                            Stefanie Lambert Juntilla
                                            Law Offices of Stefanie L. Lambert, PLLC
                                            400 Renaissance Drive, FLOOR 26
                                            Detroit, MI 48243
                                            attorneylambert@protonmail.com
Date: April 24, 2024




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